 

 

IN THE UNITED STATES DISTRICT COURT 5. OISTRICT COURT
IN AND FOR EASTERN DISTRICT OF WISCOBSEN ERN Dis Ric “Wi

HEM! A 82

STEPHEN C, DRIES
_ CLERK

Judge:

   
 

Kevin Michael Boon-Bey,
ARG SH BE A. Minor Child,

KE MEE BEL A. Minor Child,
KE MR BB Jr, A Minor Child,

wa HS, A Minor Child,
S Ml BE A Minor Child,

Plaintiffs,
V.
Audrey Skwierawski,

Ryan Sanson,
Defendants.

 

VERIFIED COMPLAINT

PARTIES

1. Who are the parties in this case and where can they be located?

Plaintiffs:
2. The parties in this case are as follows: the Plaintiffs are Kevin Michael Boon-Bey;
SS A Minor Child; KE] MS BE, A Minor Child;
MS Bar., A Minor Child; Pag | A Minor
Child; and Sj MEEB@ A Minor Child. i B is
domiciled in Wisconsin, residing in Milwaukee County, located at 10275 S. Settlers
Way, Oak Creek, Wisconsin 53154, and may be reached at (414) 218-2375. The
Minor Children are in foster care in Wisconsin; it is believed residing in Milwaukee
County. Kevin Michael Boon-Bey is the father of each child, a living Man, ‘within’
and of the House of El’s, Bey’s, and Ali’s with dominion over the land/soil
(Amexem/America), a non-resident Alien to the Corporate United States, an
Indigenous Choctaw/ Washitaw Muur/ Moor (Moorish American National), an
enrolled member of Chata/Choctaw Musgokee Yamassee Nation, an Asiatic Man of
the Asiatic Race, an original Natural Physical Man, a Creation of the Almighty
God’s (Allah), Under the Almighty God’s (Elohim/Allah) Authority and subject

   
 

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only to his laws. Each child is an enrolled member of Chata/Choctaw Musgokee
Yamassee Nation.

Defendants:

. Audrey Skwierawski, Circuit Court Judge, and may be reached at Milwaukee
County Court - VRP Youth & Family Justice Center, 10201 W. Watertown Plank
Road, Room 2421, Wauwatosa, Wisconsin 53226. This defendant, while doing her
job, harmed the Plaintiffs. .

. Ryan Sanson, Assistant District Attorney, and may be reached at Milwaukee
County Court - VRP Youth & Family Justice Center, 10201 W. Watertown Plank
Road, Wauwatosa, Wisconsin 53226. This defendant, while doing his job, harmed
the Plaintiffs.

CAUSE OF ACTION

. What is the CAUSE OF ACTION for this case?

According to the “Guide to Filing Non-Prisoner Complaints Without a Lawyer
in The United States District Court for the Eastern District of Wisconsin,”
STATEMENT(S) OF CLAIM are itemized as follows:

Who violated your rights;

What each defendant did;

When they did it;

Where it happened; and

Why they did it, if you know.

SO >

I come in peace in support of the constitutions, as stated in my attached affidavit

entitled “Affidavit of Support of the Constitutions.” (See the attached affidavit -
EXHIBIT A).
COMES NOW, the free and original inhabitant, Kevin: Michael: Boon-Bey, a

living Man, ‘within’ and of the House of El’s, Bey’s, and Ali’s with dominion over the
land/soil (Amexem/America), a non-resident Alien to the Corporate United States, an
Indigenous Choctaw/ Washitaw Muur/ Moor (Moorish American National), an Asiatic
Man of the Asiatic Race, an original Natural Physical Man, a Creation of the Almighty God
(Allah), Under the Almighty God (Elohim/Allah) Authority, subject only to his laws and in

support of Kevin: Michael: Boon-Bey, BEing Live, BEing Liveing, BEing Aware.

 

By:
The living Man of the land/soil and on the land/soil
Kevin: Michael: Boon-Bey, Private and Special,

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Holder of the Inherent Political Power,
BEing Live, BEing Liveing, BEing Aware
Kevin: Michael: Boon-Bey, BEing Live MOORISH SCIENCE TEMPLE OF AMERICA

Non corporate entity (real party in interest, tertius interveniens) SACRED RELIGIOUS
ESTATE

An Indigenous Washitaw Muur/Moor

(Moorish American National) Moor Identification Number B-100149

The children named as minors above have individual cases in the Milwaukee
County Court — VRP Youth & Family Justice Center. Their race has been
inappropriately recorded in the court cases for family members as being “Black” and/or
African American. The Boon-Bey family members are not “Black” and/or African
American. They are not negroes. The children, as well as their father, are of the
Choctaw Musgokee Yamassee Nation, Indigenous Washitaw Muur/Moors.

The defendants, while doing their jobs, harmed the Plaintiffs in this way: The
children were stripped out of their familiar home, away from the parents who love and
care for them. The children were kidnapped from the parents causing distress and
anxiety for the children.

The following documents have been executed by Kevin Michael Boon-Bey

and recorded as follows:

AFFIDAVIT OF NON-RESIDENT ALIEN STATUS (23 Pages)
DECLARATION OF NATIONALITY (11 Pages)

CERTIFICATE OF U.S. NON-CITIZEN NATIONAL STATUS (40
Pages)

Exhibit A (Standard Form 181 “Ethnicity and Race Identification” (1 Page)
Exhibit B - H. RES. 194 (4 Pages)
Exhibit C —S. CON. RES. 26 (5 Pages)
Exhibit D - H.R. 3326 Section 8113 (3 Pages)
Exhibit E - CR-Senate $4977 (1 Page)
Exhibit F - CR-Senate 813695 (2 Pages)
Exhibit G — Assembly Joint Resolution No. 42 (2 Pages)
(Recorded in the Recorder of Deeds Office. Lake County. Illinois [Doc. # 7547123])

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(Please refer to Exhibit B to see a copy).
The children of Kevin Michael Boon-Bey identified below are debtors to and
blood-line descendants of Mr. Boon-Bey, the UCC Secured Party Creditor, and they are.

named as plaintiffs in the immediate case:

¢ HE. HE, 4 Minor child

ABE S. BEB A Minor Child
Kal M. BEB Jr., A Minor Child

SHIM. BEBE, A Minor Child
KM. BEL A Minor Child

As stated previously, Mr. Boon-Bey is the Secured Party creditor, owner, and
authorized representative of the corporate fiction-entities / Debtors (Ens legis)
identified as Py] Hi AG DE KE BE ., SHEE BER, and
KGB (Please refer to Exhibit C).

On July 3, 2019, the father, Kevin Michael Boon-Bey, filed a “Motion to
Transfer Jurisdiction and Dismiss” the cases in the Milwaukee County Court — VRP
Youth & Family Justice Center to transfer these actions to the Choctaw Musgokee
Yamassee Nation Tribal Court, Issuing Authority R0033X3 — SG08261975000111976,
c/o 48999 212" West, Lancaster, California 93536, and to dismiss the state court
proceedings pursuant to the Indian Child Welfare Act, 25 U.S.C. § 1911(b), pursuant to
the United Nations Declaration on the Rights of Indigenous Peoples (UNDRIP 2007),
pursuant to the Treaty Of Savannah 1733, pursuant to the Treaty Of Camp Holmes
1835, and pursuant to the organic agreements of the Declaration of Independence,
1776; the Bill of Rights, 1789 & R1791; the Northwest Ordinance, 1787; the Articles of
Association, 1774; the U.S. Constitution, 1787; the Articles of Confederation, 1778 &
R1781; the U.S./Morocco Treaty of Peace and Friendship, 1786; the U.S./Morocco
Treaty of Peace and Friendship, 1836; The Wisconsin State Constitution; and the

Maxims of Equity. On June 3, 2019, each of these documents was filed into the lower

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court cases as part of a Mandatory Judicial Notice pursuant to Rights guaranteed to a
free and original inhabitant, an Indigenous Choctaw Musgokee Yamassee / Washitaw
Muur/ Moor (Moorish American National), proclaiming that court proceedings to be
Exclusive Equity. (Reproduced texts of these organic documents are attached as
Exhibits M-1 — M-14. Certified copies from the U.S. National Archives & Records
Administration in Washington, D.C. are on file with me and will be made available

upon request).

On July 8, 2019, the judge hearing each child’s case, Judge Audrey
Skwierawski, suspended her decision on each motion, postponing a final decision until
July 30, 2019 — August 1, 2019. Judge Skwierawski made the statement in the July 8
hearing that she wants to see the results of the ordered competency evaluation, which is
not a requirement of the Indian Child Welfare Act. It should also be noted that Kevin
Michael Boon-Bey is cautious about doing a competency evaluation with someone (a
psychologist) whose loyalties are to the court and who is on the court’s “payroll.” With
no negative mental history, what would an evaluation such as this prove? And finally,
the judge claims that she could not find the Choctaw Musgokee Yamassee Nation on a
Bureau of Indian Affairs registry that she consulted. (Contrary to what Judge
Skwierawski stated in the July 8, 2019, hearing regarding not being able to find
reference to any of my people, I quickly looked on the U.S. Department of Interior —
Bureau of Indian Affairs website and found under the “Tribal Leaders Directory” the
Choctaw Agency is listed. Refer to Exhibits N. According to Wikipedia, the Choctaw
Indian Tribe signed nine (9) treaties with the United States. Refer to Exhibits QO).
Furthermore, I would remind this Honorable Court that the Indian Child Welfare Act
does not require the parent who is a tribal member and who makes a motion to transfer
jurisdiction in state court to submit to a competency evaluation. “Tribes have sole
authority to determine their own membership. The state court may not substitute its
own determination.” (See the National Council of Juvenile and Family Court Judges
(NCJFCJ) - Indian Child Welfare Act Judicial Benchbook, Indian Child Welfare Act
(ICWA) Basics, page 5 in Exhibit J). A transcript of the July 8, 2019, hearing is being

ordered and will be filed in this case upon receipt of it.

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As the “Motion to Transfer Jurisdiction and Dismiss” states in each of the
children’s cases, each motion complies with the Indian Child Welfare Act, 25 U.S.C.

(Please refer to Exhibits D, E, F, G, and H to see a copy of each child’s motion).

Now while Mr. Boon-Bey has in recent weeks been insisting that the lower
court record be corrected in terms of “Race” of Boon-Bey family members and the fact
that those who submit reports into the court record and/or generate case notes for the
court record persist in inappropriately identifying Mr. Boon-Bey’s children as “Black”
or as African American. Mr. Boon-Bey has told the court repeatedly that he and his
children are of the Choctaw Musgokee Yamassee Nation and that the court record
should reflect that correction. Instead of the state court complying with Federal law,
with original organic agreements filed with the lower court, and with treaties filed into
the lower court cases of the children, in the hearing of June 4, 2019, the assistant
district attorney, Ryan Sanson, and the judge, in the spirit of malicious prosecution,
raised the question of Kevin Michael Boon-Bey’s mental health capacity, and the judge
ordered a competency evaluation of Mr. Boon-Bey. (See a copy of the transcript in
Exhibit I, page 13 of the transcript at line 17). Mr. Boon-Bey objected to the judge
making such an order, and the court simply moved forward with the order. (See a copy
of the transcript in Exhibit I, page 14 of the transcript at lines 1 - 7). If Mr. Boon-Bey
is found incompetent, according to the judge, she will appoint a guardian ad litem for
Mr. Boon-Bey, and he will be the guardian ad litem’s ward. (See a copy of the
transcript in Exhibit I, page 14 of the transcript at lines 8 - 13).

The Milwaukee County Court - VRP Youth & Family Justice Center ordering a
competency evaluation with the results of the competency evaluation being used in the
lower court is a violation of Kevin Michael Boon-Bey’s constitutional rights.
Anything he says in the competency evaluation can be used against him in court.

As aresult, Kevin Michael Boon-Bey formulated a series of written questions
for the psychologist to answer in writing before the competency evaluation proceeded.
On July 10, 2019, at 12 noon, those written questions were respectfully given to the

psychologist soliciting her written responses after arriving at the psychologist’s office.

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After reading the questions given her, the psychologist began answering the questions
verbally, but she refused to respond in writing. (Please refer to Exhibit P in order to
review the written questions presented to the psychologist). The competency
evaluation moved forward nonetheless, and Mr. Boon-Bey was told that competency
was satisfactory. There is no written report from the psychologist as of the writing of
this complaint.

Again, the Indian Child Welfare Act does not require the parent who is a tribal
member and who makes a motion to transfer jurisdiction in state court to submit to a

competency evaluation.

According to the National Council of Juvenile and Family Court Judges

(NCJFCJ) - Indian Child Welfare Act Judicial Benchbook, Indian Child Welfare Act
(ICWA) Basics (page 5) are as follows:

The Child is an “Indian Child” Under The Indian Child Welfare Act (IC WA) If:

¢ He or she is an unmarried person under the age of 18, and

¢ 1. The child is a member of a federally recognized Indian tribe; or

* 2. a) Eligible for membership in a federally recognized Indian tribe and

* 2. b) Is the biological child of a member/citizen of a federally recognized
Indian tribe. 25 U.S.C. § 1903(4).

Determination of Tribal Membership

¢ Tribes have sole authority to determine their own membership. The state court
may not substitute its own determination.

* To make a judicial designation of the Indian child’s tribe, the state court may
rely on documents or testimony indicating membership.

Kevin Michael Boon-Bey has provided such documents to the state.

When Does ICWA Apply

* The proceedings are child custody proceedings as defined in 25 U.S.C. §
1903(1); and

¢ The court knows or has reason to know the child is an “Indian child.” 25 U.S.C.
§ 1903(4)

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(See Exhibit J for a copy of the National Council of Juvenile and Family Court Judges
(NCJFCSJ) - Indian Child Welfare Act Judicial Benchbook).

JURISDICTIONAL ALLEGATIONS

6. What establishes the JURISDICTION of the Honorable Court in this case?

Pursuant to Rights guaranteed to a free and original inhabitant, an Indigenous
Choctaw Musgokee Yamassee / Washitaw Muur/ Moor (Moorish American
National), and a living Man the following organic documents:

1 - Declaration of Independence, 1776 (1 page) (Please refer to Exhibit M-1).

2 - Bill of Rights, 1789 & R1791 (1 page) (Please refer to Exhibit M-2).

3 — Northwest Ordinance, 1787 (2 pages) (Please refer to Exhibit M-3).

4 - Articles of Association, 1774 (3 pages) (Please refer to Exhibit M-4).

5 - U.S. Constitution, 1787 (4 pages) (Please refer to Exhibit M-5).

6 - Articles of Confederation, 1778 & R1781 (9 pages) (Please refer to
Exhibit M-6).

7 - U.S./Morocco Treaty of Peace and Friendship, 1786 (33 pages) (Please
refer to Exhibit M-7).

8 - U.S./Morocco Treaty of Peace and Friendship, 1836 (30 pages) (Please
refer to Exhibit M-8).

9 — The Wisconsin State Constitution, certified on February 5, 1848, by the
Office of the Secretary of Wisconsin Territory (29 pages) (Please refer to

Exhibit M-9).
10 — Maxims of Equity (13 pages) (Please refer to Exhibit M-10).

The matter has transpired in Wisconsin republic within the boundaries that the
United States District Court of the Eastern District Wisconsin, and the Defendants
are governed by the Federal statutes of the INDIAN CHILD WELFARE ACT — 25
USC 1901 — 1963 (Please refer to Exhibit M-11), the National Council of Juvenile

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and Family Court Judges (NCJFCJ) - Indian Child Welfare Act Judicial Benchbook
(Please refer to Exhibit J), The Code of Federal Regulations, The United States
Code, regulations of the Federal Reserve, the United Nations Declaration on the
Rights of Indigenous Peoples (UNDRIP 2007) (Please refer to Exhibit M-12),
Treaty Of Savannah 1733 (Please refer to Exhibit M-13), Treaty Of Camp Holmes
1835 (Please refer to Exhibit M-14), and thus establishes the Honorable Court’s

Jurisdiction.

GENERAL FACTUAL ALLEGATION
. What are the facts, as alleged, in this case?

Kevin Michael Boon-Bey is a tribal member of the Choctaw Musgokee
Yamassee Nation, an Indigenous Washitaw Muur/Moor. The children are eligible
for membership in the Tribe, and paperwork is being processed accordingly. Tribal
memberships for the children have already been approved by the Tribe and will be
submitted to the court when the process is completed in the near term.

This distinction of not being a negro, but being recognized and acknowledged as
being indigenous, an American National, was successfully argued in a winning
court case by Abraham Lincoln in April 1855 — William Dungey v. Joseph Spencer
[“Black Bill” Case]. (Please refer to Exhibit K).

The record currently shows various entities recognize and acknowledge Mr.
Boon-Bey’s status as an American National:

A. Wisconsin Secretary of State — Birth Certificate (Refer to Exhibit L);

B. Wisconsin DMV — Driver’s License (Refer to Exhibit L);

C. Milwaukee County Circuit Court - Name Change Court Order (Refer to

Exhibit L);

D. U.S. Department of State — U.S. Passport (Refer to Exhibit L);

E. Social Security Administration — Social Security Card (Refer to Exhibit L);

F. The Choctaw Musgokee Yamassee Nation — Tribe Membership (Refer to

Exhibit L).
Recorded in the Recorder of Deeds Office in Lake County, Illinois are Mr.

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Boon-Bey’s AFFIDAVIT OF NON-RESIDENT ALIEN STATUS,
DECLARATION OF NATIONALITY, and CERTIFICATE OF U.S. NON-
CITIZEN NATIONAL STATUS. (Refer to Exhibit B). Notice has been published
in a local newspaper, Milwaukee South - NOW (March 20, 2019, March 27, 2019,
April 3, 2019, and April 10, 2019). (Refer to Exhibit L). These affidavits are

unrebutted locally, nationally, and internationally.

Why would the Milwaukee County Circuit Court — VRP Youth & Family

Justice Center fail to acknow orr acknowledge Mr. Boon-Bey’
Why would this lower co fuse to apply the Indian Child Welfar
organic ments betwee ni tates e Choctaw Mus

Yamassee Nation, and treaties een the United States and the Choctaw
Mu: Yamassee Nation to Mr. Boon-Bey and his children?

On July 3, 2019, Kevin Michael Boon-Bey filed motions entitled “Motion to
Transfer Jurisdiction and Dismiss” into the Milwaukee County Court - VRP Youth
& Family Justice Center cases to transfer these actions “In The Interest Of’ each
child to the Choctaw Musgokee Yamassee Nation Tribal Court, Issuing Authority
R0033X3 — SG082619750001 11976, c/o 48999 212™ West, Lancaster, California
93536, and to dismiss the state court proceedings pursuant to the Indian Child
Welfare Act, 25 U.S.C. § 1911(b).

On July 8, 2019, Kevin Michael Boon-Bey petitioned the Court to transfer the
following court cases filed in Milwaukee County Circuit Court - VRP Youth &
Family Justice Center to the Choctaw Musgokee Yamassee Nation Tribal Court,
Issuing Authority R0033X3 — SG082619750001 11976, c/o 48999 212" West,
Lancaster, California 93536, and to dismiss the state court proceeding pursuant to
the Indian Child Welfare Act, 25 U.S.C. § 1911(b):

A. Milwaukee County Case Number 2018JC001021, DA Case Number

2018MJ002870 - In the Interest of AM] Bugs A Minor Child;
B. Milwaukee County Case Number 2018JC001022, DA Case Number

2018MJ002871 - In the Interest of K $i BUM, A Minor Child;

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C. Milwaukee County Case Number 2018JC001023, DA Case Number
2018MJ002872 - In the Interest of Ki] BEM Jr., A Minor Child;

D. Milwaukee County Case Number 2018JC001020, DA Case Number
2018MJ002869 - In the Interest of PHM, A Minor Child; and

E. Milwaukee County Case Number 2018JC001024, DA Case Number

2018MJ002873 - In the Interest of SI] BEN A Minor Child.

On July 8, 2019, the judge hearing each child’s case, Judge Audrey
Skwierawski, suspended her decision on each motion, postponing a final decision until
July 30, 2019 — August 1, 2019.

The Milwaukee County Circuit Court is non-compliant with the Indian Child
Welfare Act, organic agreements between the United States and the Choctaw
Musgokee Yamassee Nation, and treaties between the United States and the Choctaw
Musgokee Yamassee Nation. Instead of the state court complying with Federal law, the
assistant district attorney, Ryan Sanson, and the judge raised the question of Kevin
Michael Boon-Bey’s mental health capacity, and the judge ordered a competency
evaluation for Mr. Boon-Bey.

Mr. Boon-Bey objected to the judge making such an order, and the lower court
simply moved forward with the order.

According to Judge Skwierawski, if Mr. Boon-Bey is found incompetent, the
lower court judge will appoint a guardian ad litem for Mr. Boon-Bey, and he will be the
guardian ad litem’s ward. This strategy used by the lower court will remove Mr. Boon-
Bey’s voice in said court cases and circumvent Federal law, organic agreements
between the United States and the Choctaw Musgokee Yamassee Nation, and treaties
between the United States and the Choctaw Musgokee Yamassee Nation.

Again, the Indian Child Welfare Act does not require the parent who is a tribal
member and who makes a motion to transfer jurisdiction in state court to submit to a
competency evaluation.

As stated above, the Milwaukee County Circuit Court fails to comply with or
refuses to comply with the Indian Child Welfare Act with regard to Mr. Boon-Bey’s

children in spite of the law stating, “Tribes have sole authority to determine their own

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membership. The state court may not substitute its own determination.” (Again, see
the National Council of Juvenile and Family Court Judges (NCJFCJ) - Indian Child
Welfare Act Judicial Benchbook, Indian Child Welfare Act (ICWA) Basics, page 5 in
Exhibit J). However, this complaint is not just about the lower court violating the

 

Indian Child Welfare Act. It is also about those in official capacities at the Milwaukee
County Circuit Court, Judge Skwierawski and Assistant District Attorney Ryan Sanson,
abridging Kevin Michael Boon-Bey constitutional rights and that of his children. This
complaint also encompasses the original organic agreements, which includes several
treaties, made between the United States and my people, the Choctaw Musgokee
Yamassee Nation. The strategy of the lower court is malicious and treasonous in that
the judge in the lower court is warring with the supreme law of the land by abridging of
Mr. Boon-Bey’s unalienable rights. (See In re Sawyer, 124 U.S. 200 [1888] — “Ifa
judge does not fully comply with the Constitution, then his orders are void.”; Marbury
v. Madison, 5 U.S. 137 —“The courts of the United States are bound to take notice of
the constitution.”; Smith v. O’Grady, Warden, 312 U.S. 329, 61 S Ct 572; 85 L Ed 85,

 

Mooney y. Holohan, 294 U.S. 103, 113 — “That Constitution is the supreme law of the
land,” and [binds] “Upon the state courts, equally with the courts of the Union, rests the
obligation to guard and enforce every right secured by that Constitution.”). It is an
abridgement of not only my family’s constitutional rights, but also a violation of
humanitarian rights (a violation of the United Nations Declaration on the Rights of
Indigenous Peoples (UNDRIP 2007). (Please refer to Exhibit M-12).

The Indigenous Choctaw Musgokee Yamassee Nation / Washitaw Muur/ Moor
occupied this land called the United States long before the U.S. Department of Indian
Affairs was formed. How can the Milwaukee County Circuit Court constrict the
Indigenous Choctaw Musgokee Yamassee Nation / Washitaw Muur/ Moor to a registry
of the U.S. Department of Indian Affairs, even though the Choctaw’s appear in their

website list of tribes?

REQUEST FOR PRODUCTION OF DOCUMENT

8. This Court should intervene and prevent the prosecution and separation of the
family from taking place because of his being of the Indigenous Choctaw

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10.

11.

12.

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17.

Musgokee Yamassee Nation / Washitaw Muur/ Moor. Again, “Tribes have sole
authority to determine their own membership. The state court may not substitute its
own determination.” (See the National Council of Juvenile and Family Court

Judges (NCJFCJ) - Indian Child Welfare Act Judicial Benchbook, Indian Child
Welfare Act (ICWA) Basics, page 5 in Exhibit J).

As a direct result of the Defendants’ gross negligence, the Plaintiff has suffered
undue stress, duress, and mental anguish for loss of security, breach of privacy,
fraud, kidnapping of children, organized crime, and trespass by the Defendants.

The Plaintiff reserves the right to amend the immediate complaint at any time.

And further, the Plaintiff asserts that the Defendants will not be able to provide
proof and prove such claims, and thus Plaintiff utters this request for relief.

WHEREFORE

WHEREFORE, The Honorable Court Shall order the following:

This Honorable Court shall order the lower court to transfer the Milwaukee County
Court — VRP Youth & Family Justice Center court cases “In The Interest Of” the
children of Mr. Boon-Bey to the Choctaw Musgokee Yamassee Nation Tribal
Court, Issuing Authority R0033X3 — $G08261975000111976, c/o 48999 212"
West, Lancaster, California 93536, and to dismiss the state court proceedings
pursuant to the Indian Child Welfare Act, 25 U.S.C. § 1911(b).

This Honorable Court shall order the lower court to transfer the Milwaukee
County Court — VRP Youth & Family Justice Center court cases “In The Interest
Of” the children of Mr. Boon-Bey to the Choctaw Musgokee Yamassee Nation
Tribal Court all documents related to the court cases of Mr. Boon-Bey’s children in
order to properly adjudicate each court case.

The Defendant will be forever stopped from prosecuting or attempting to prosecute
the Plaintiffs, returning all property of the Plaintiffs.

The Defendants will remit payment yet to be determined by federal statute to the
Plaintiffs.

This Honorable Court shall order the lower court to correctly acknowledge the
heritage and identity of Kevin Michael Boon-Bey and his children as being of the
Choctaw Musgokee Yamassee Nation, Indigenous Washitaw Muur/Moors and
correct the lower court record accordingly.

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JURY DEMAND

If this case goes to trial, I want a jury to hear my case.

ALL CASE LAW MENTIONED WITHIN THIS DOCUMENT IS USED AS PRINCIPLE
OF LAW ONLY. ALL STATUTES ARE USED AS PRINCIPLE OF LAW ONLY: IT IS
ONLY USED TO SHOW THE INTENT OF THE LEGISLATURE,

UNDER PENALTIES OF PERJURY the undersigned, the free and original
inhabitant, Kevin: Michael: Boon-Bey, a living Man, ‘within’ and of the House of

 

El’s, Bey’s, and Ali’s with dominion over the land/soil (Amexem/America), a non-
resident Alien to the Corporate United States, an Indigenous Choctaw/ Washitaw Muur/
Moor (Moorish American National), an Asiatic Man of the Asiatic Race, an original
Natural Physical Man, a Creation of the Almighty God’s (Allah), Under the Almighty
God’s (Elohim/Allah) Authority and subject only to his laws, declares that he provided
a copy hereof to be placed forwarded via HAND DELIVERY by Russ’ Process Service
of 4256 North 36" Street, Milwaukee, Wisconsin 53216 to:

Audrey Skwierawski, Circuit Court Judge

Milwaukee County Court — VRP Youth & Family Justice Center
10201 W. Watertown Plank Road, Room 2421

Wauwatosa, Wisconsin 53226

Ryan Sanson, Assistant District Attorney
Milwaukee County Court — VRP Youth & Family Justice Center
10201 W. Watertown Plank Road
Wauwatosa, Wisconsin 53226

    
  

Complaint signed this 10" day of July, 2919.

By: Living, Bredthin

Milwaukee, Wisconsin 53204
(414) 218-2375

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NOTICE: Using a notary on this document does not identify me as a fiction nor
classify me as fictitious entity nor does it constitute any adhesion or any Hidden
contracts, nor does it alter my status in any manner as a Living Breathing Man, BEing
Live, BEing Liveing, BEing Aware. The purpose for notary is verification and
identification only of a Living Man.

STATE OF WISCONSIN )
) SS:
COUNTY OF MILWAUKEE __ )

BEFORE ME personally appeared Kevin: Michael: Boon-Bey who, being by me first
duly sworn and personally known to me or identified in accordance with Wisconsin
law, executed the foregoing in my presence the date last hereinabove appearing.

Signed this 10" day of July 2019.

UM Opn gees seal:
Notary Public Signature

Nlarian Cag crasanag

Notary Public Printed Name

O-\44o

Date Commission Expires

 

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